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  1 Defendants’ Disputed Post Trial Finding of Fact No. 104:
  2           Mr. Ripps and Mr. Cahen did not receive royalties for secondary sales
  3 (except for a small amount for a platform that carried mandatory resale royalties).
  4 Ripps Decl. ¶¶ 167-118 (uncontested).
  5            Plaintiff’s Basis for Dispute:
  6           This statement is false. Ms. Kindler’s undisputed calculations demonstrate
  7 that Defendants received at least $117,309 in profit from resales of their infringing
  8 NFTs. Over one hundred thousand dollars of ill-gotten gains is not small.
  9           Defendants have admitted to this calculation of royalties, estimating even
 10 higher figures. Compare JTX-103 (estimating 70 ETH income for “LooksRare
 11 Royalty) and Ripps Depo. Designations (Dkt. 396) at 90:11-91:8 (estimating 70
 12 ETH in royalties received from LooksRare) with Kindler Decl. (Dkt. 338) ¶ 49
 13 (“Defendants estimated that they earned 70 ETH from LooksRare creator fees,
 14 which is higher than my calculation of 65 ETH.”).
 15            Defendants’ Response:
 16           This finding of fact is not false. As Mr. Ripps and Mr. Cahen’s testimony
 17 make clear, they tried to turn off royalties from the secondary sales of RR/BAYC
 18 NFTs, as part of a criticism of Yuga’s policy to receive 2.5% of royalties on their
 19 secondary sales. See Cahen Decl. ¶¶ 166-167 (Dkt. 344); Ripps Decl. ¶¶ 116, 118
 20 (Dkt. 346) (uncontested). Further, their testimony credibly states that they received
 21 a small amount of royalties from Foundation before they shut it off, around $1,000,
 22 and some from LooksRare, as that marketplace initially refused to turn off the
 23 royalties, around $77,000. See Cahen Decl. ¶¶ 168-172 (Dkt. 344).
 24           Roughly $78,000 is a small amount compared to the profits Yuga claims
 25 were received—$1,366,090, (Kindler Decl. ¶59 (Dkt. 338)). It is also small
 26 compared to the revenue Mr. Ripps and Mr. Cahen could have made had they
 27 received royalties from all secondary sales of RR/BAYC NFTs instead of shutting
 28 them off as part of their protest. See Kindler Decl. ¶69 (Dkt. 344) (finding that

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  1 “there have also been many resales of RR/BAYC NFTs where no creator fees were
  2 generated…one NFT sales tracker (NFTGO) calculated nearly 6,000 ETH in total
  3 sales of RR/BAYC NFTs, which equates to almost $10 million using the ETH to
  4 USD conversation rate as of February 1, 2023 ($1,641.61 to 1 ETH).”).
  5           Finally, the evidence Yuga cites to is misleading. JTX-103 does not show
  6 that Mr. Ripps and Mr. Cahen’s calculations could be even higher than $117,309.
  7 Instead, JTX-103 clearly shows an estimation that 70 ETH had been received from
  8 LooksRare and that the value of that ETH in USD at the time was $77,000, which is
  9 exactly what Mr. Cahen’s testimony provides. See Cahen Decl. ¶¶ 168-172 (Dkt.
 10 344).
 11            Plaintiff’s Reply:
 12           Defendants again cannot keep their lies straight. Defendants’ own testimony
 13 directly contradicts the proposed finding of fact, and the Court should reject it.
 14           As discussed supra, Defendants’ response lacks merit. Specifically: (1) all of
 15 Defendants’ profits are attributable to their infringing activity (supra ¶ 103). That
 16 Defendants may deem $117,309 (or even $77,000) a “small amount” is
 17 disingenuous, and regardless, Yuga Labs is entitled to recover these profits.
 18           Defendants’ response lacks merit and continues their lies because (1)
 19 Defendants received royalties for secondary sales on multiple marketplaces.
 20           Defendants Received Royalties For Secondary Sales On Multiple
 21 Marketplaces: Defendants’ proposed finding of fact contends that they only
 22 received royalties for “a small amount” from “a platform that carried mandatory
 23 resale royalties.” That is false. Defendants’ trial declaration and responses here
 24 confirm that they earned a significant amount of royalties from multiple
 25 marketplaces—$1000 from Foundation (which Defendants were able to readily shut
 26 off) and at least $77,000 from LooksRare. See Cahen Decl. (Dkt. 344) ¶¶ 168-172;
 27 Jt. Stmt. re Def’s Post-Trial Findings of Fact and Conclusion of Law ¶ 103 (“their
 28 testimony credibly states that they received only a small amount of royalties from

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  1 Foundation before they shut it off, around $1,000, and some from LooksRare, as
  2 that marketplace initially refused to turn off the royalties, around $77,000.”); ¶ 104
  3 (same). Defendants’ attempt to obfuscate all of their earnings highlights again their
  4 lack of credibility.
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